Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 1 of 33

UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO

 

11 ~CV-03238 ser

Samuel M Walker, pro se
e Diane H Walker, pro se

Civil Action

No

Plaintiffs,
Vv.

Fred Wegener, individual and official capacity
Bobby Priestly, individual and official capacity
Cindy Hardey, individual and official capacity
Rebecca Bramlett, individual and official capacity
Amy Franck, individual and official capacity
Juan Gallegos, individual and official capacity
Dep Sgt Brown, individual and official capacity
Park County
Park County Commissioners

© Attorney General, Colorado, official capacity
Court Clerk, individual and official capacity

Defendants

New! Nome Nm Name Nee Nee ne Nee Ne Nee Nee Nee Nee Nee Nee Nr Ne Nee eee Nee ee ee ee ee ee”
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COMPLAINT

 

Come the Plaintiffs, pro se, and for cause of action would state as follows:
I. INTRODUCTION
This is a civil rights complaint for declaratory, injunctive, and other appropriate relief brought
by the Plaintiffs. This action arises under the Fourth, Fifth, Eighth, and Fourteenth
Amendments to the United States Constitution; under federal law. Specifically, 42 U.S.C.
Section 1983 and Section 1988; under Code of Federal Regulations, and under Colorado

common law for willful and wanton conduct with intentional and/or negligent infliction of
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 2 of 33

emotional distress, theft of property, negligence, negligent supervision, gross negligence, and
civil conspiracy.
The individual Defendants, acting in the scope of their employment and under color of state
law, conducted four separate unlawful search and seizure actions. The Defendants actions
and callous indifference caused injury to the Plaintiffs with the unlawful taking of Plaintiffs
property; the taking of property without just compensation, cruel and unusual punishment prior
to a conviction, denied Due Process before the unlawful taking, used coercion through threat
and intimidation under color of state law, and failed to provide the Miranda Warning.
Action is also brought against Park County for its failure to properly train and supervise the
~ individual Defendants in the proper procedures and conduct to ensure individuals and citizen’s
constitutional rights are protected while Park County conducts their enforcement duties.
i. JURISDICTION AND VENUE
1. This court has jurisdiction over the subject matter of this action pursuant to 28
U.S.C. Section 1331, 1343, and 1367, and venue is properly set in the United States
District Court for the District of Colorado pursuant to 28 U.S.C. Section 1391 and
2201.
2. The causes of action alleged herein arise from factual allegations occurring in this
judicial district.
3. On information and belief, it is alleged herein that each of the named Defendants
resides in this judicial district.
4. Plaintiffs reside in this judicial district.
5. Actual and non-economic damages in controversy are in excess of $75,000.00 for

each plaintiff.
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 3 of 33

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Punitive damages in controversy are in excess of $75,000.00 for each plaintiff.

Ill. PARTIES

A. Plaintiffs

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The Plaintiff, Samuel M Walker [Sam], is a citizen and resident of Teller County,
Colorado and owned property in Park County where the violations occurred.
The Plaintiff, Diane H Walker, is a citizen and resident of Teller County, Colorado

and owned property in Park County where the violations occurred.

B. Defendants

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County Sheriff Fred Wegener, employed by Park County, is a citizen of the State of
Colorado, was at all times material to the allegations in this complaint, acting
individually and in his capacity as County Sheriff, and was acting under color of
state law.

Officer Bobby Jo Priestly, employed by Park County, is a citizen of the State of
Colorado, was at all times material to the allegations in this complaint, acting
individually and in her capacity as Animal Control (ACO)/Code Enforcement
Officer, and was acting under color of state law.

Officer Rebecca Bramlett, employed by Park County, is a citizen of the State of
Colorado, was at all times material to the allegations in this complaint, acting
individually and in her capacity as Animal Control (ACO)/Code Enforcement
Officer, and was acting under color of state law.

Officer Cindy Hardey, employed by Park County, is a citizen of the State of

Colorado, was at al] times material to the allegations in this complaint, acting
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 4 of 33

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individually and in her capacity as Animal Control (ACO)/Code Enforcement
Officer, and was acting under color of state law.

Officer Amy Franck, employed by Park County, is a citizen of the State of
Colorado, was at all times material to the allegations in this complaint, acting
individually and in her capacity as Park County deputy, and was acting under color
of state law.

Deputy Juan Gallegos, employed by Park County, is a citizen of the State of
Colorado, was at all times material to the allegations in this complaint, acting
individually and in his capacity as Park County deputy, and was acting under color
of state law.

Deputy Sgt Brown, employed by Park County, is a citizen of the State of Colorado,
was at all times material to the allegations in this complaint, acting individually and
in his capacity as Park County deputy, and was acting under color of state law.
Park County Commissioners, employed by Park County, are citizens of the State of
Colorado, are at all times material to the allegations in this complaint, acting in
their capacity as the governing body of Park County, and were acting under color of
state law.

John W Suthers, Attorney General, employed by State of Colorado, is a citizen of
the State of Colorado, is at all times material to the allegations in this complaint,
acting in his capacity as the state legal authority, acting under color of state law.
Debra L McLimans, Park County Combined Court Clerk, employed by Park
County, is a citizen of the State of Colorado, was at all times material to the

allegations in this complaint, acting individually and in her capacity as Park County
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 5 of 33

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Combined Court Clerk, and was acting under color of state law.

IV. FACTUAL BACKGROUND
Samuel M Walker [Sam] and Diane H Walker [Diane], collectively as “the
Walkers”, are residents of Teller County Colorado and owned property in Park
County Colorado.
In the years preceding December 15, 2009, Sam and Diane Walker raised, trained,
and occasionally bred sled dogs at 6000 FS 108, a 160 acre ranch near the town of
Hartsel in Park County Colorado.
The Walkers, since 2000, have maintained PACFA licensing through the State of
Colorado, Department of Agriculture.
The Walkers also purchased Individual dog license tags each year for the years
2005 through 2009 complying with Park County dog licensing regulations.
Park County Animal Control Officers have been to the Walker’s property on
several occasions and were very familiar with the location and facilities.
At the Hartsel property, the Walkers have a % mile long gated driveway from FS
107/FS 108, a recreational vehicle (RV), and a completely fenced in area for
operating their licensed dog kennel. The Walkers kennel was known to be well
within the property and not visible from any boundary point.
Within the fenced kennel area there was also an 8ft x 15ft steel shipping container
for use as a warming hut, storage of all dog food, hardware, and equipment, and
office/break area for kennel operations and caretakers.

This warming hut was also used to heat water to support winter feeding activities
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 6 of 33

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where hot water was mixed into the dog food for better dog hydration.
The Walkers routinely leased sled dogs to Good Times Sled Dog Adventures in
Breckenridge over the previous 4 years and for 2009-2010 winter sled dog season,
8 experienced sled dogs were again leased to them. Good Times picked up the 8
dogs in November 2009.
The Walkers loaned 6 dogs for the 2009-2010 winter sled dog season to fellow
mushers Mark and Debra Su Stephens, who with Sam’s help, moved into the
Hartsel area in August 2008.
The Walkers knew of the Stephens since 2000, through the local sled dog clubs and
also helped them move into the area using the our services and equipment, trucks,
and heavy duty trailers in August 2008. Sam spent two full weekends driving
back and forth from Conifer to Hartsel using $200.00 in diesel fuel helping the
Stephens get their sled dog kennel established. In return, Sam received 6 cans of
spray paint as a thanks for his help.
Through the Stephens, Sam met Brian Whelan, in October 2009. Whelan was
interested in getting into mushing and wanted to start a dog team. Since the Walkers
had several older, experienced dogs and Whelan was interested in trading help in
the kennel for the dogs, it seemed to be a workable situation. Sam then through the
barter system, made a verbal agreement with Whelan for kennel help.

Sam agreed to sell four dogs to Whelan valued at $400.00, via barter to be worked
off doing projects within the kennel starting in November 2009.

In late November 2008, Sam was notified that he had to be in California for work.

He would be in CA from 14 December through 19 December 2009.
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 7 of 33

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Sam contacted the Stephens and Whelan the prior week of his departure.

Whelan reluctantly agreed to caretake at the kennel to work off the $400.00 debt for
the four dogs in December 2009 while Sam was out of town.

This caretaker stated to Park County ACOs that he had the dogs but never expected
to hear from the Walkers again and was very surprised that Sam called him, so he
reluctantly agreed to care for the dogs to pay off his debt after Sam called.

Sam had verbal contracts with the Stephens and Whelan for the period of 14
through 19 December 2009 to feed, water and straw the dogs.

Since Sam Walker was required in California on the eve of December 13, 2009, the
caretakers agreed to care for the dogs at the Walker kennel on alternating days
starting on December 14 through December 19, 2009 (Stephens on Monday 14",
Whalen on Tues 15", etc through Saturday, the 19"),

All Caretakers understood the dogs at the kennel required daily feeding, watering,
and straw for each dog.

Both caretakers were advised that water had to be hauled in for the dogs .

Through experience, Sam routinely hauled in a minimum of 120 gallons daily
during the winter as part of kennel operations and left 20 individual 6 gal containers
at the kennel for caretaker use.

Sam purchased 1050 Ibs (21 bags-one full pallet) of dog food on December 12,
2009.

Sam early Sunday morning 13 December 2009, added approximately 600 Ibs (12
bags) to what was already stored in the warming hut, making the total dog food on

the property 1000 Ibs of dog food for caretaker use between December 14 through
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 8 of 33

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December 19, 2009.

The remaining 9 bags were returned to the Walker Teller County residence.

Sam ensured the Warming Shed was fully stocked with dog food for care taker use
during his absence.

Sam ensured the full dog food bags were emptied into three large Tupperware bins,
which contained 200 Ibs each (600lbs total) and 10 individual 5 gallon buckets with
lids which held approx 20 Ibs each (200lbs total) and left 4-501b bags unopened
(200lbs total). The 5 gal buckets were used initially to start the feeding of the
kennel.

Sam purchased locally 6 additional straw bails and left the straw at the kennel for
caretaker use to straw the dogs during Sam’s absence.

Sam ensured ample food and straw was available at the kennel. The caretakers
were advised to haul water, and were provided emergency numbers for both Diane
in Florissant, CO and Sam in California to the caretakers. Both the Stephens and
Whelan needed to haul enough water (120gals) to the kennel, feed, and straw the
dogs in the kennel and notify Sam or Diane of any problems.

On Monday, December 14, 2009, Debra Su Stephens arrived at the kennel with
approximately 20 gallons of water, fed with two thirds of the normal ration for each
dog, and provided a minimum of water to some dogs due to being 100 gal short of
the required amount.

, Brian Whelan, arrived on the morning of Tuesday 15 December 2009 with the
same 20 gal of water, fed and provided a minimum of water, still 100 gal short, to

some of the dogs, gave straw to some of the dogs, and as stated in his interview with
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 9 of 33

ACO’s on 21 December 2009, was upset that he had to straw the dogs and he was
running late to take his wife shopping.

51. On December 15, 2009 at approximately 1:03pm Sgt Bobbi Priestly received a call
from a woman from the Humane Society of the United States, who reported having
received a complaint regarding the condition of dogs located at the Walker
property.

52. Nothing in Sgt. Priestly’s report suggests that Priestly had any prior knowledge of
the anonymous caller or his veracity.

53. Sgt. Priestly stopped by the Park County Sheriffs Office, and summoned three
other law enforcement officers.

54. Together, all officers, Sheriff Fred Wegener, ACO Cindy Hardey, ACO Rebecca
Bramlett, and ACO Priestly, responded to the Walker property at approximately
315pm, about 2 hours following Sgt. Priestly’s call with the anonymous caller.

55. Before going to the Walker’s property on 15 December 2009, the officers did not
seek, nor did they possess a search warrant.

56. ACOs Bobby Priestly and Cindy Hardey had been to the Walker Kennel prior to
December 15, 2009, and were aware of the location of the kennel

57. At the property, the officers entered into the gated driveway. Drove up the 1 2 mile
driveway subsequently entering into the enclosed sections of the property where
the kennel of dogs was located.

58. Corporal Hardey grabbed the camera from her patrol vehicle and began taking
pictures of the dogs and property.

59. ACO Bramlett stated she made a map of where each dog was located by position
Case 1:11-cv-03238-RM-KMT Documenti1 Filed 12/12/11 USDC Colorado Page 10 of 33

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within the kennel

Bramlett’s map failed to identify all the dogs at all locations in the kennel.

Some dogs were scored using the Henneke body scoring for horses.

Later that day, the officers seized two of the approximately 100 dogs at the
property.

Later that day, Corporal Hardy authored a search warrant, which was signed on the
morning of December 16, 2009.

The averments contained in the search warrant were almost entirely comprised of
information obtained during the warrantless entry onto the Walkers property on
December 15, 2009.

ACOs Priestly and Hardy knew prior to December 15, 2009 that to access the
Walker kennel to actually see the dogs they would have to go through two posted
gates then proceed up a half mile drive way to a third gate at the fenced kennel area
on the property.

Tuesday, December 15, 2009, ACO Priestly had ample time to obtain a search
warrant.

Priestly and other officers decided to conduct a search on December 15, 2009
without a search warrant.

The Walker property was fenced, gated, and posted with No Trespassing signs at
the entry point.

All Sheriffs officials entered the fenced, gated, and posted property despite the
posting and no search warrant.

No probable cause existed and no exigent circumstances existed to perform a
Case 1:11-cv-03238-RM-KMT Documenti1 Filed 12/12/11 USDC Colorado Page 11 of 33

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warrantless search on December 15, 2009.

. Debra Su Stephens fed and watered on Monday December 14, 2009 and no calls

were made to Diane Walker of any problems at the kennel.

Sheriff Fred Wegener is responsible and establishes the standard of conduct for all
officials within the Sheriff's Department.

Wegener is responsible for the proper training of all members of his staff.
Wegener is responsible for the proper training of all ACOs within the Animal
Control/Code Enforcement section.

No standard scoring system was used to assess the health of the dogs.

ACOs assessed some dogs using the Henneke Body Scoring System developed
specifically for horses.

The horse scoring system rates the body condition of a horse on a scale from 1 to 9
not the health of the animal.

Several veterinarians and laboratories rated our dogs on a scale from 1-5.

The ACOs noted and took pictures of dogs, empty water buckets, and no food at
each dog location, even though Debra Su Stephens watered and fed on Monday
December 14, 2009 and Whalen allegedly fed and watered that day, December 15,
2009.

ACO Priestly seized two dogs without a warrant on December 15, 2009.

ACO Priestly removed property without a warrant and failed to provide the
Walkers notice of the seizure on December 15, 2009.

ACO Priestly failed to notify the Walkers that these two dogs were seized so the

Walkers could have the opportunity to bond IAW 18-9-202.5 CRS.
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 12 of 33

83. These officials failed to secure the Walker property as they departed.

84. The state veterinarian, Dr Kate Anderson and her staff within the Dept of
Agriculture was called to conduct a kennel assessment of each dog for consistency.

85. Dr Anderson assessed the dogs health using the Henneke Body Scoring System
designed for horse’s body condition not health.

86. ACO Priestly determined that 30 dogs would be seized and removed from the
Walker property on December 16, 2009.

87. Unsupervised volunteers moved about the Walker property removing Walker
personal property at their leisure.

88. ACOs failed to protect and secure Walker property under the authority of the court
approved search warrant.

89. ACOs failed to maintain chain of custody of any and all evidence obtained under
the authority of the search warrant.

90. ACOs failed to inventory/document the seized dogs as they were removed from the
property.

91. Officials failed to link through documentation each dog being seized with their
respective destination.

92. On December 16, 2009, law enforcement officers entered the property pursuant to a
search warrant.

93. Once Diane arrived at the kennel, Officer Juan Gallegos served her with the search
warrant.

94. Officer Gallegos then shadowed Diane with threats and intimidation everywhere

she went on the property keeping his hand very near to his weapon the entire day,
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 13 of 33

“keeping the peace” the entire day on December 16.

95. Diane considered herself in custody of the officer that served her.

96. Diane was not free to go anywhere on the Walker property or off the property
without a Park County official noting everything she said or did.

97. Officer Gallegos did not provide a Miranda warning at any time while he was
“keeping the peace” the entire day keeping Diane within arm’s reach and in
custody.

98. During the search conducted December 16, 2009, Diane Walker was asked
numerous questions throughout the entire day, yet neither Sgt Priestly or any other
officers provided her a Miranda Warning at anytime during the day on December
16, 2009.

99. Statements made by Diane Walker were used against her in official reports.

100. Sam Walker was never provided a Miranda Warning by Priestly during
phone call conversations on December 16, 2009.

101. Numerous officers questioned both Walkers and listened in on phone
conversations between Sam and Diane which resulted in comments made by the
Walkers being used against them in official reports.

102. During the search on December 16, 2009, Sgt. Priestly sought permission
from Diane to return to the property the next day -December 17, 2009 to continue
their search and to seize the remaining dogs.

103. Consent was sought by Diane by means of coercion and duress.

104. On December 16, 2009, Priestly stated all dogs taken would require

approximately $600/month bond per dog in accordance with an amount determined
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 14 of 33

by Park County.

105. Colorado statute 18-9-202.5 CRS defines bonding and process details.

106. Priestly seized 2 dogs on December 15, 2009 during the warrantless search
and seizure.

107. Priestly did not provide the Walkers notice of property (dogs) seized
December 15.

108. Priestly seized 30 dogs on Wednesday, December 16, 2009.

109. The state veterinarian, Dr Kate Anderson, stated the 70 remaining dogs did
not need to be removed since they were not in immediate danger.

110. ACO Priestly insisted all dogs were to be removed because Park County did
not have enough manpower to care for the remaining dogs at the kennel.

111. ACO Priestly insisted that the remaining 70 healthy dogs be removed
stating that “she did not have the manpower to come out to the property to ensure
the dogs were cared for”

112. Sgt Priestly stated this knowing that the Stephens were still available to care
for the dogs.

113. Sgt Priestly also knew that Sam Walker would be returning on 19
December 2009.

114. ACO Priestly added pressure demanding that the dogs be bonded
immediately or release them to the county stating, “it would go easier for you”,
insisting Diane sign the release of our dogs.

115. Officer Gallegos continued to threaten and intimidate Diane with his hand

near his weapon, “keeping the peace” within arm’s length.
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 15 of 33

116. Sgt. Priestly, through pressure and intimidation, stated bonding for all 100
dogs would be approximately $60,000/month per the bonding statute with no
assurance that any of the animals would ever be returned.

117. The decision for bonding was demanded immediately that day adding
additional pressure and emotional distress on Diane.

118. Diane signed the release under duress, due to the threats, intimidation, and
coercion conducted under color of state law.

119. In the middle of all the turmoil and confusion Sgt Priestly also on numerous
occasions told Diane she better get an attorney.

120. Priestly quickly coerced her into signing a form to allow officials to use the
same search warrant to return on Thursday, December 17, to seize the remaining 70
healthy dogs while still in the custody of Officer Juan Gallegos.

121. Throughout the entire ordeal, it was known to the ACOs that Sam Walker
was to return on December 19, 2009, but Priestly hastily cleared the property of all
animals prior to his return.

122. The ACOs failed to secure the Walker property prior to their departure on
December 16, 2009.

123. Priestly failed to obtain a new search and seizure warrant for December 17,
2009.

124. Priestly and Gallegos unlawfully coerced Diane Walker to provide
permission to return to the property for December 17, 2009.

125. Priestly conducted an unlawful warrantless search on December 17, 2009.

126. On Thursday, December 17, 2009, Park County officials and other
Case 1:11-cv-03238-RM-KMT Documenti1 Filed 12/12/11 USDC Colorado Page 16 of 33

government officials and civilian volunteers trespassed onto the Walker property
under authority of Park County Sheriffs officials.

127. ACOs and Officer Gallegos allowed the Channel 9 news truck to trespass
onto the Walker property, move about the property unsupervised, and to incite the
local community.

128. ACOs instructed all volunteers on December 16, 2009 to not enter the
property prior to ACO arrival on December 17, 2009.

129. When the ACOs arrived to the Walker property on December 17, 2009,
they found that the caretakers broke the crime scene tape and entered onto the
property disregarding ACO instructions to not enter the Walker property until ACO
arrival.

130. ACOs allowed the caretakers and others to continue to move about the
property unsupervised.

131. Unsupervised, the Stephens and Whalen, took dogs, dog food, equipment
and other personal property from the Walkers property.

132. Unsupervised, the caretakers loaded numerous dogs and personal property
without accountability by Park County officials.

133. ACOs failed to search the caretakers for personal property taken from the
Walker property on December 17, 2009..

134. ACOs failed to account for each dog taken by the caretakers and others on
December 17, 2009.

135. ACOs and officials failed to inspect any vehicle prior to entry onto the

Walker property nor on exit from the Walker property on any day for Walker
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 17 of 33

personal property removed from the Walker property.

136. Officer Franck stated she inventoried each vehicle at the Walkers.
137. Officer Franck’s actual conduct was inconsistent with her report.
138. Park County officials are trained to write a draft report on what happened,

then compare the report to the procedural handbook, then ensure the official report
reflects procedural correctness by adjusting the draft.

139, ACO Hardey documented she seized 2 bags, 80 pounds (understated
amount) of dog food, when the two bags, were each sealed 50 pound bags for a total

| of 100 pounds actually seized.

140. ACO Hardey seized Walker property without just compensation.
141. ACO Hardy documented she seized 11 bags of shavings
142, ACO Hardy failed to document hardware, equipment, and dog food taken

by officials and others when the property was under ACO control.

143. Park County Sheriffs officials condoned the theft of Walker personal
property.
144. ACOs determined the dogs within the kennel did not have water nor

apparent food at each location on December 15, 2009.
| 145. ACOs failed to charge caretakers Stephens or Whalen for failure to feed or
water or provide protection for the dogs IAW 18-9-202(1)(a).
146. ACO Priestly was notified by the Walkers on her cell phone on December
20, 2009, of specific items taken from the property.
147. ACOs failed to inventory the dog food stored in the warming shed on their

initial warrantless search on December 15, 2009.
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 18 of 33

148. ACOs failed to inventory the dog food stored in the warming shed on any
day following December 15, 2009.

149, The Walkers ensured 1000 pounds of dog food was in the storage container
on December 13, 2009.

150. The caretakers used approximately 300 lbs December 14-16, 2009.

151. ACO Hardey documented 80lbs taken but understated the amount by 20 lbs
(marked 50]b dog food bags totaling 100ibs) with 100lbs seized..

152. Caretakers stated they took at least 100 Ibs each (2001bs) while the Walker
property was under the authority of the Park County officials under color of state
law.

153. Numerous five gallon buckets with lids used to store and feed the dogs in

the kennel were taken while the Walker property was under the control of Park

County officials.
154. ACOs failed to document the 400 pounds of dog food taken during the raid.
155. ACOs used extensive overtime to reconcile seized dogs with their

whereabouts between December 18 and December 30, 2009.

156. ACOs created a separate inventory sheet if they forgot the gender of a dog.

157. ACOs Priestly and Bramlett, together, conducted and recorded physical
interviews of caretakers Stephens and Whalen at the Park County Sheriff's office
December 21, 2009.

158. ACOs confirmed during the interview process that the caretakers had taken
Walker personal property while the property was under the authority of the ACOs.

159. The sheriff’s department failed to search each caretaker property for other
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 19 of 33

stolen Walker personal property.

160. When the Walkers called the Sheriff's office to file a stolen property report,
but Sgt Brown refused to take a report over the phone and challenged us, doubting
anything had been taken.

161. Sgt Brown condoned the theft of Walker personal property even though the
Walkers list of stolen items did not match the items returned except the number of
spray paint cans returned by the Stephens.

162. Several letters of communication between the DDA and Walker’s attorneys
addressed the issue of stolen property identified and not returned but the Sheriff's
department was non-responsive.

163. A caretaker allegedly returned one bag of dog food to the ACOs, but kept

the other for personal use.

| 164. The ACOs failed to return the dog food to the Walkers.
165. The ACOs unlawfully seized the dog food returned by Whalen.
166. ACOs rushed to issue arrest warrants for Sam and Diane Walker before
Christmas day.
167. ACOs insisted the arrests be completed by Christmas yet they issued the

arrest warrant for Diane Elaine Walker on the 22" in error and had to redo the
watrant with the court requiring extensive overtime to correct.
168. Their error was corrected on December 24, 2009, even though it was
recommended to delay the arrests until December 28, 2009.
169. Extensive officer overtime was used to correct their hasty mistakes.

170. The Walkers designated a specific area in the north east corner of the kennel
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 20 of 33

area as a grave yard for burial of dogs

171. For each dog that died from natural causes or euthanasia consistent with
law, the Walkers buried each dog facing east and placed sage over there face in
celebration of their life as demonstrated in some Native American cultures.

172. ACOs did not remove 5 deceased dogs during the December raid.

173. ACO Priestly justified an additional search/seizure warrant to pick up the 5

| dead dogs but brought a backhoe out to dig up the entire dog grave yard on a witch

hunt on Jan 11, 2010 based on additional unreliable information from caretaker
Debra Su Stephens.

174. Caretaker Stephens made false statements to ACOs Priestly and Bramlett as
to the estimated number of dead dogs buried in the grave yard.

175. The ACOs were looking for more than 100 dogs dead and buried.

| 176. ACOs only found 35 dogs in the process of desecrating the grave yard and

creating a biohazard and hazard to local endangered animals.

177. These dogs died from natural causes or were euthanized consistent with law
over the previous 5 years.

178. ACO Bramlett stated they found the number of dead dogs specified on the
warrant on the surface, which was where they left them in December.

179. The backhoe from Road and Bridge was never required to support the
search warrant to remove dead dogs from the property.

180. ACO Priestly submitted a fictitious document with Road & Bridge
letterhead but there was no indication R&B ever saw the document and it was used

as cost documentation to support a Restitution cost assessment for the court.
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 21 of 33

181. No required victim impact statement was provided by Road and Bridge.

182. As each dog was dug up they were removed from the bags they were buried
in.

183. Several of these dogs had been euthanized and were mixed up with the dogs

that died of natural causes.

184, ACO Priestly failed to ensure all animals dug up in the grave yard were
buried properly.
185. ACO Priestly had knowledge of the proper burial of euthanized animals as a

former vet tech working for Dr Wright in Park County Lake George area.

186. ACO Priestly left remains of euthanized dogs on the surface of the grave
yard contaminating the environment as a bio-hazard.

187. ACO Priestly left remains of euthanized dogs on the surface of the grave
yard creating a serious threat to local endangered species.

188. As the supervising ACO, Priestly failed to bury euthanized dogs properly
exposing the environment to a bio-hazard and created a grave danger to local

endangered animals violating numerous Federal laws.

189, The ACOs exceeded the scope of the warrant.
190. The ACOs failed to notify the Walkers of this second warrant.
191. ACO Bramlett provided false information in a warrant affidavit to get

access to the Walker’s Sam’s Club dog food purchase history.
192. ACOs failed to maintain control of the Walker property by treating the Raid
as a Rescue Operation instead of a crime scene.

193. Walker dog license file review would reveal the same information.
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 22 of 33

194, Park County Combined Court Clerk is required to certify Restitution
balances for Defendants.

195. Park County Combined Court Clerk failed to ensure the Walker’s
Restitution balance was correct throughout the life of the balance.

196. Casino’s seized Walker property based upon incorrect balances reflected in
the system.

197. Restitution balance was zero but the system reported greater than zero.
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 23 of 33

V. CLAIMS
COUNT 1.......12/15 search
Violation of U.S.C. Title 42, Section 1983
Violation of U.S.C. Title 18 Part I Chapter 13 Section 241, 242
Violation of U.S.C. Title 18 Part I Chapter 19 Section 371
Violation of U.S.C. Title 18 Part I Chapter 47 section 1001
Violation of U.S.C. Title 18 Part I Chapter 109 Section 2236
(all defendants)

198. Plaintiffs incorporate each and every allegation set forth in paragraphs 1-197, as if
set forth herein.

199. Plaintiffs are all “citizens” under the authority of 42 USC Section 1983.

200. Defendants are “persons” within the meaning of this section and its jurisdictional
counterparts.

201. On December 15, 2009, Defendants acted with willful and wanton conduct in
concert and/or conspired together and committed acts designed to deprive Plaintiffs’
Sam and Diane Walker of their property which was seized without Due Process during
an unlawful warrantless search and with callous disregard deprived the Walkers their
right to Procedural and Substantive Due Process in violation of the Fourth, Fifth,
Eighth, and Fourteenth Amendments of the US Constitution.

202. During the commission of the above unlawful acts, these defendants were
operating under color of Colorado law. The actions described above constitute a
violation of 42 U.S.C. Section 1983.

203. Asa direct and proximate result of these violations of Plaintiffs’ 42 U.S.C. Section

1983 Civil Rights, Plaintiffs incurred legal expenses and suffered great personal injury,

including severe mental anguish, emotional distress, loss of property and business
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 24 of 33

interests and personal reputations.

COUNT Il............ 12/16 search
Violation of U.S.C. Title 42, Section 1983
Violation of U.S.C. Title 18 Part I Chapter 13 Section 241, 242
Violation of U.S.C. Title 18 Part I Chapter 19 Section 371
Violation of U.S.C. Title 18 Part I Chapter 47 section 1001
Violation of U.S.C. Title 18 Part I Chapter 109 Section 2236
(all defendants)

204. Plaintiffs incorporate each and every allegation set forth in paragraphs 1-203, as if
set forth herein.

205. Plaintiffs are all “citizens” under the authority of 42 USC Section 1983.

206. Defendants are “persons” within the meaning of this section and its jurisdictional
counterparts.

207. On December 16, 2009, Defendants all acted with willful and wanton conduct in
concert and/or conspired together and committed acts designed to accomplish
unreasonable searches and seizures at the property of Plaintiffs, Sam and Diane
Walker, in violation of Plaintiffs right to be free from unreasonable searches and
seizures in violation of the Fourth Amendment of the United States Constitution.

208. Defendants acted in concert to provide an affidavit with information unlawfully
obtained directly from a warrantless search on December 15, 2009.

209. These officials then seized 30 dogs without due process.

210. These officials with callous disregard for her emotional state, demanded Diane
Walker bond all the dogs in the kennel for $60,000.00 per month because they were all

to be seized creating an unlawful cruel and unusual punishment prior to a conviction.

211. These officials threatened and intimidated Diane Walker, coercing her to sign
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 25 of 33

ownership of our property, the dogs, over to the county without due process.

212. These same officials failed to advise Plaintiffs of their rights via the Miranda
Warning and used statements Plaintiffs statements against them in official reports in
direct violation and with callous disregard of Plaintiff's Fifth Amendment rights.

213. During the commission of the above unlawful acts, these defendants were
operating under color of Colorado law. The actions described above constitute a
violation of 42 U.S.C. Section 1983, Fourth, Fifth, Eighth, and Fourteenth
Amendments of the U.S. Constitution.

214. As adirect and proximate result of these violations of Plaintiffs’ 42 U.S.C. Section
1983 Civil Rights, Plaintiffs incurred legal expenses and suffered great personal injury,
including severe mental anguish, emotional distress, and loss of property and business

interests and reputation.

COUNT Il........12/17 SEARCH
Violation of U.S.C. Title 42, Section 1983
Violation of U.S.C. Title 18 Part I Chapter 13 Section 241, 242
Violation of U.S.C. Title 18 Part I Chapter 19 Section 371
Violation of U.S.C. Title 18 Part I Chapter 47 section 1001
Violation of U.S.C. Title 18 Part I Chapter 109 Section 2236
(all defendants)
215. Plaintiffs incorporate each and every allegation set forth in paragraphs 1-214, as if
set forth herein.

216. Plaintiffs are all “citizens” under the authority of 42 USC Section 1983.
217. Defendants are “persons” within the meaning of this section and its jurisdictional

counterparts.

218. On December 17, 2009, Defendants all acted with willful and wanton conduct in
Case 1:11-cv-03238-RM-KMT Documenti1 Filed 12/12/11 USDC Colorado Page 26 of 33

concert and/or conspired together and committed acts designed to accomplish
unreasonable searches and seizures at the property of Plaintiffs, Sam and Diane
Walker, in violation of Plaintiffs right to be free from unreasonable searches and
seizures in violation of the Fourth Amendment of the United States Constitution.

219. Diane Walker was unlawfully coerced through threats and intimidation to sign a
form to allow these officials and others to return on December 17, 2009.

220. Defendants conspired and acted in concert conducting an unlawful warrantless
search and subsequent unlawful seizure of all the remaining dogs from the property,
seizure of dog food, hardware and equipment without just compensation or due process
with callous disregard for Plaintiffs Constitutional Rights.

221. Defendants conspired and acted with willful and wanton conduct in concert and
failed to protect and secure Walker property, allowed the crime scene to be
compromised by volunteers, omitted or mis-stated events reflected in official reports
and representations, and facilitated the transfer and conversion of Walker personal
property with callous disregard for Plaintiffs Constitutional rights.

222. During the commission of the above unlawful acts, these defendants were
operating under color of Colorado law. The actions described above constitute a
violation of 42 U.S.C. Section 1983, Fourth, Fifth, Eighth, and Fourteenth
Amendments of the U.S. Constitution.

223. As adirect and proximate result of these violations of Plaintiffs’ 42 U.S.C. Section
1983 Civil Rights, Plaintiffs incurred legal expenses and suffered great personal injury,
including severe mental anguish, emotional distress, and loss of property and business

interests and personal reputations.
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 27 of 33

COUNT IV....1/11 SEARCH
Violation of U.S.C. Title 42, Section 1983
Violation of U.S.C. Title 18 Part I Chapter 13 Section 241, 242
Violation of U.S.C. Title 18 Part I Chapter 19 Section 371
Violation of U.S.C. Title 18 Part I Chapter 47 section 1001
Violation of U.S.C. Title 18 Part I Chapter 109 Section 2234
(all defendants)

224. Plaintiffs incorporate each and every allegation set forth in paragraphs 1-223, as if
set forth herein.

225. Plaintiffs are all “citizens” under the authority of 42 USC Section 1983.

226. Defendants are “persons” within the meaning of this section and its jurisdictional
counterparts

227. On January 11, 2010, Defendants all acted in concert and/or conspired together and
committed acts designed to accomplish unreasonable searches and seizures at the
property of Plaintiffs, Sam and Diane Walker, in violation of Plaintiffs right to be free
from unreasonable searches and seizures in violation of the Fourth Amendment of the
United States Constitution.

228. Defendants acted with willful and wanton conduct in concert and conspired to
willfully exceed the authority and scope of the court approved search and seizure
warrant with unnecessary severity. The ACOs found the deceased dogs specifically
described by the warrant on the surface, but continued to dig up the entire grave yard to
search for more dogs not declared in the warrant, desecrated the grave yard which was
hallowed ground, and created a biohazard to the environment, an extreme hazard to

local endangered animals, and a direct violation of Federal environmental statutes.

These actions with callous disregard, directly violated the Fourth Amendment of the
Case 1:11-cv-03238-RM-KMT Documenti1 Filed 12/12/11 USDC Colorado Page 28 of 33

U.S. Constitution.

229. During the commission of the above unlawful acts, these defendants were
operating under color of Colorado law. The actions described above constitute a
violation of 42 U.S.C. Section 1983.

230. Asa direct and proximate result of these violations of Plaintiffs’ 42 U.S.C. Section
1983 Civil Rights, Plaintiffs incurred legal expenses and suffered great personal injury,
including severe mental anguish, emotional distress, and loss of property and business

interests and personal reputations.

COUNT V...... Bonding
Violation USC Title 42 Section 1983
Violation of 18-9-202.5 CRS and 18-9-202 CRS
Violation of U.S.C. Title 18 Part I Chapter 19 Section 371
Violation of U.S.C. Title 18 Part I Chapter 47 section 1001
Violation of U.S.C. Title 18 Part I Chapter 13 Section 241, 242
(all defendants)
231. Plaintiffs incorporate each and every allegation set forth in paragraphs 1-230, as if
set forth herein.
232. Plaintiffs are all “citizens” under the authority of 42 USC Section 1983.
233. Defendants are “persons” within the meaning of this section and its jurisdictional
counterparts
234. On December 15, December 16, December 17, 2009, Defendants all acted with
willful and wanton conduct in concert and/or conspired together and committed acts
designed to accomplish unreasonable searches and seizures at the property of Plaintiffs,

Sam and Diane Walker, in violation of Plaintiffs right to be free from unreasonable

searches and seizures in violation of the Fourth Amendment of the United States
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 29 of 33

Constitution.

235. Defendants acted willfully and knowingly and in concert and conspired through
threats and intimidation when demanding bonding of all dogs or ownership be
transferred to the county. This situation created an unlawful taking of property
without Due Process and Cruel and Unusual Punishment prior to a conviction. These
Defendants also made numerous materially false and fictitious statements in writing,
and concealed material facts. These unlawful acts constitute a violation of 42 U.S.C.
Section 1983 and the Fourth, Fifth, Eighth, and Fourteenth Amendments of the U.S.
Constitution.

236. Plaintiffs also allege that the Colorado statutes 18-9-202 CRS and 18-9-202.5 CRS
are defective and unconstitutional. First: These two statutes are integral to each
other yet they are not linked. The seizure statute, 18-9-202, fails to provide any due
process for notice and hearings for the citizen, and the bonding statute, 18-9-202.5,
requires the owner to provide notice to the agency instead of the reverse as required by
Due Process demanded by the US Constitution. Second: The bonding statute,
18-9-202.5, which requires a “seizure bond” is illegal and unconstitutional because it
constitutes an unlawful taking of personal. These unlawful acts constitute a violation
of 42 U.S.C. Section 1983 and the Fourth, Fifth, Eighth, and Fourteenth Amendments
of the U.S. Constitution.

237. During the commission of the above unlawful acts, these defendants were
operating under color of Colorado law. The actions described above constitute a
violation of 42 U.S.C. Section 1983.

238. As adirect and proximate result of these violations of Plaintiffs’ 42 U.S.C. Section
Case 1:11-cv-03238-RM-KMT Documenti1 Filed 12/12/11 USDC Colorado Page 30 of 33

1983 Civil Rights, Plaintiffs incurred legal expenses and suffered great personal injury,
including severe mental anguish, emotional distress, and loss of property and business

interests and personal reputations.

COUNT VI....Policies, Customs, and Practices
Violation of Civil Rights Pursuant to Title 42 U.S.C Section 1983
Violation of U.S.C. Title 18 Part I Chapter 13 Section 241, 242
Violation of U.S.C. Title 18 Part I Chapter 19 Section 371
Violation of U.S.C. Title 18 Part I Chapter 47 section 1001
(all defendants)

239. Plaintiffs incorporate each and every allegation set forth in paragraphs 1-238, as if
set forth herein.

240. Plaintiffs are all “citizens” under the authority of 42 U.S.C. Section 1983.

241. Defendants are “persons” within the meaning of this section and its jurisdictional
counterparts.

242. Defendant Fred Wegener, in his capacity as County Sheriff of Park County,
Colorado with willful and wanton conduct, implicitly adopted and implemented
careless and reckless policies, customs, or practices, that included, among other things,
of allowing employees of the Park County Sheriffs department to conduct warrantless
searches and seizures without training to ensure protection of Constitutional Rights of
citizens while conducting their enforcement duties.

243. Defendant Fred Wegener, in his capacity as County Sheriff of Park County,
Colorado implicitly adopted and implemented careless and reckless policies, customs,

or practices allowing his employees to act with willful and wanton conduct, that

included, among other things, of allowing employees of the Park County Sheriff's
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 31 of 33

department to conduct searches and seizures of property without just compensation,
conduct criminal investigations without established processes and procedures for
property control, evidence tracking, and protection of personal property, and allowing
officers to methods to threaten, intimidate, and coerce to get around or avoid rights and
privileges guaranteed by the US Constitution. Defendants are trained to ensure their
report drafts are consistent with their officer procedural manual and to adjust the report
if their conduct is inconsistent with the manual. Numerous reports and affidavits did
not reflect what was said or done accurately at the Walker property. Mis-statements,
omissions, and false statements and representations run rampant. The above actions
directly infringe on Plaintiffs’ rights guaranteed under the Fourth, Fifth, Eighth, and
Fourteenth Amendments to the Constitution of the United States.

244. The failure of the Park County Sheriff, Fred Wegener, and the County of Park
County, to adequately train and supervise the Defendants Priestly, Hardey, Bramlett,
Brown, Franck, and Gallegos amount to a callous and deliberate indifference to the
rights of the Walkers to be free from unreasonable searches, seizures, denial of due
process, cruel and unusual punishment, and taking without just compensation
guaranteed under the Fourth, Fifth, Eighth, and Fourteenth Amendments to the
Constitution of the United States.

245. As aresult of this callous and deliberate indifference to the Walkers’ rights and
Defendants willful and wanton conduct, the Walkers suffered personal injuries and lost
the companionship and value of their sled dogs and are entitled to relief under 42
U.S.C. Section 1983.

246. In committing the acts complained of herein, Defendants acted under color of state
Case 1:11-cv-03238-RM-KMT Document1 Filed 12/12/11 USDC Colorado Page 32 of 33

law to deprive Plaintiffs as alleged herein of certain constitutionally protected rights
including, but not limited to: a) the right to be free from unreasonable searches and
seizures; b) the right not to be derived of liberty without due process of law; c) the right
not to be deprived of property without due process of law; d) the right to be free from

cruel and unusual punishment; e) the right to just compensation for taking of property.
Case 1:11-cv-03238-RM-KMT Documenti1 Filed 12/12/11 USDC Colorado Page 33 of 33

PRAYERS FOR RELIEF
WHEREFORE, the above premises considered, Plaintiffs demand:

1. That process issue to the Defendants and that they be required to answer in time allowed by
law.

2. That judgement be rendered in favor of the Plaintiffs and against the Defendants on all
causes of action asserted herein.

3. That Plaintiffs be awarded those damages to which it may appear they are entitled by proof
submitted in this cause for their physical and mental pain and suffering, both past and
future; permanent injury and disability; loss of enjoyment of life; loss of their personality,
our dogs; and medical and psychological expenses, both past and future.

4. That Plaintiffs be awarded treble punitive damages against Defendants.

5. That Plaintiffs be awarded reasonable expenses incurred in this litigation, including
reasonable attorney and expert fees, pursuant to 42 U.S.C Section 1988 (b) and (c).

6. That the Plaintiffs receive any further and general relief to which they are entitled.

7. That Defendants be immediately remanded into custody of Federal authorities and
prosecuted by the Department of Justice for violations of specified Federal regulations to
the furthest extent of the law.

8. A jury for the trial of this matter.

Respectfully submitted,
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